Case 1:22-cv-00081-CLM Document 1-1 Filed 01/21/22 Page 1 of 8            FILED
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Case 1:22-cv-00081-CLM Document 1-1 Filed 01/21/22 Page 2 of 8
Case 1:22-cv-00081-CLM Document 1-1 Filed 01/21/22 Page 3 of 8
Case 1:22-cv-00081-CLM Document 1-1 Filed 01/21/22 Page 4 of 8
Case 1:22-cv-00081-CLM Document 1-1 Filed 01/21/22 Page 5 of 8
Case 1:22-cv-00081-CLM Document 1-1 Filed 01/21/22 Page 6 of 8
Case 1:22-cv-00081-CLM Document 1-1 Filed 01/21/22 Page 7 of 8
Case 1:22-cv-00081-CLM Document 1-1 Filed 01/21/22 Page 8 of 8
